           Case 1:21-cr-00198-TSC Document 25 Filed 04/13/21 Page 1 of 5




            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               ) CRIM NO. 21-CR-198-TSC
TROY ANTHONY SMOCKS,                           ) Judge: Chutkan
                                               )
              Defendant.                       )

     REPLY TO MEMORANDUM IN OPPOSITION TO MOTION FOR
            RECONSIDERATION OF DETENTION ORDER

      COMES NOW Troy Anthony Smocks, by and through counsel, and submits

its Reply in response to the government’s Memorandum in Opposition to Motion

for Reconsideration of Detention Order (Dkt. No. 22). In support thereof, Mr.

Smocks states as follows.

      1.      The government makes much of the defendant’s criminal record.

However, despite multiple convictions, what is not present within these

convictions is of note as well. First, none of Mr. Smocks’ convictions involve any

violent act or assaultive behavior. Second, despite encounters with the criminal

justice system, there is no conviction for violating any court order, contempt of

court, or for failing to appear in court. Third, his most recent conviction is over

fifteen years old, having been convicted in March of 2006. Finally, it appears that

his most recent period of supervision of five years, from January 2014 to January

                                           1
           Case 1:21-cr-00198-TSC Document 25 Filed 04/13/21 Page 2 of 5




2019, ended administratively at the end of the five years, and there has been no

conviction since.

      2.      While the government argues that the government’s evidence is

“overwhelming,” it bases its argument on its predetermined conclusion that Mr.

Smocks is guilty of the alleged threats simply because he admitted to the fact that

he owns the account and that he admitted to writing the posts (Opposition at 8)

However, the government chooses to ignore that simply making the statements is

enough to have a conviction. As required by the Supreme Court in Elonis v. United

States, 575 U.S. 373 (2015), the government needs to show that Mr. Smocks

possessed “the mens rea or guilty mind, as to every element of the offense.” See

Luna Torres v. Lynch, 578 US. _____ (2016)(slip opinion at 15). Accordingly, the

government is going to have to prove that my client had the mens rea required to

make his statement an illegal threat. The defense submits that in the context of the

statements made, and the fact that Mr. Smocks denied making the statement as a

threat, the government’s case is not as “overwhelming” as suggested.

      3.      The court can take steps to assure that Mr. Smocks is not a danger to

the community and/or a risk of flight. His passport has already been seized. He

already has a place to reside, with his niece in Missouri, Ms. LaToya Harris. Ms.

Harris has indicated to undersigned counsel that Mr. Smocks may reside with her,

                                          2
            Case 1:21-cr-00198-TSC Document 25 Filed 04/13/21 Page 3 of 5




and she is amenable to having whatever equipment is necessary in order to assure

GPS surveillance compliance. The court can place a GPS device on Mr. Smocks

to assure his whereabouts are always known. In addition, the court can limit his use

of social media and/or electronic media to assure no further postings on his part

which may be perceived as threats.1

         WHEREFORE, for the reasons and arguments made above and in its

original Motion for Reconsideration of Detention Order, Defendant Troy Anthony

Smocks prays that the court release defendant.



                                                       Respectfully submitted,

                                                       TROY ANTHONY SMOCKS
                                                       By Counsel


                                                          /s/ John L. Machado
                                                       John L. Machado, Esq.
                                                       Bar No. 449961
                                                       Counsel for Troy Anthony Smocks
                                                       503 D Street, N.W., Suite 310
                                                       Washington, DC 20001
                                                       Telephone: (703) 989-0840
                                                       E-mail: johnlmachado@gmail.com




1 If the court chooses to place such a restriction on him, the defense would respectfully request that the court allow
him to use a computer for the purposes of court hearings as well as communications with his attorney and/or the
legal defense team.
                                                           3
      Case 1:21-cr-00198-TSC Document 25 Filed 04/13/21 Page 4 of 5




                             Certificate of Service

 I hereby certify that a true copy of the foregoing was electronically filed with
    the Clerk of the Court using the CM/ECF system this 13th day of April,
2021, which will send a notification of such filing (NEF) to the following to all
                                 counsel of record.


       /s/John L. Machado
    John L. Machado, Esq.
    Bar Number 449961
    Attorney for Troy Anthony Smocks
    Law Office of John Machado
    503 D Street NW, Suite 310
    Washington, D.C. 20001
    Telephone (703)989-0840
    Email: johnlmachado@gmail.com




                                        4
Case 1:21-cr-00198-TSC Document 25 Filed 04/13/21 Page 5 of 5




                              5
